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 LOEB & LOEB LLP
 Walter H. Curchack, Esq.
 William M. Hawkins, Esq.
 Bethany D. Simmons, Esq.
 345 Park Avenue
 New York, New York 10154
 Telephone: 212-407-4000
 Facsimile: 212-407-4990
 Email: whawkins@loeb.com

 Proposed Counsel to Jason R. Lilien, the Examiner for WonderWork, Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re                                            Chapter 11

    WONDERWORK, INC.,                             Case No. 16-13607 (MKV)

                                  Debtor.




                PRELIMINARY WORK PLAN OF JASON R. LILIEN, EXAMINER

 TO THE HONORABLE MARY KAY VYSKOCIL,
 UNITED STATES BANKRUPTCY JUDGE:

          Jason R. Lilien, the Court-appointed Examiner (the “Examiner”) for WonderWork,

 Inc. (the “Debtor”) in the above-captioned Chapter 11 case, by his proposed undersigned

 counsel, hereby submits his preliminary work plan.

                                       INTRODUCTION

          1.       On April 21, 2017, the Court entered an Order Directing the Appointment of

 an Examiner and Establishing Temporary Budgetary Controls (the “Examiner Order”)

 (Dkt#110), directing the United States Trustee (the “U.S. Trustee”) to appoint an examiner for

 the Debtor pursuant to 11 U.S.C. § 1104.




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        2.      On May 5, 2017, the U.S. Trustee appointed Jason R. Lilien, Esq. as Examiner

 and filed (i) a notice of such appointment (Dkt#129) and (ii) an application for an order

 approving such appointment. (Dkt#130)

        3.     On May 10, 2017, the Court entered its order approving the appointment of

 Jason R. Lilien, Esq. as the Examiner. (Dkt#136)

        4.     The Examiner Order sets forth in broad terms the scope of the investigation to

 be conducted by the Examiner as follows:

               [T]he Examiner shall investigate:

                   1. The Debtor’s collection, use, allocation, and transfers of
                      restricted and unrestricted funds, including:

                      (a) the Debtor’s system for collecting, tracking and
                          using restricted-purpose funds;

                      (b) whether and to what extent Debtor’s funds are
                          properly subject to donor restrictions and/or other
                          restrictions under New York charity law and the
                          characterization and nature of any such restriction;

                      (c) how expenses and expenditures including overhead
                          and grants are allocated across various causes,
                          including the transfer of funds among the Debtor’s
                          bank accounts; and

                      (d) whether Debtor has taken actions in violation of the
                          automatic stay by attempting to impose restrictions
                          on funds that were otherwise unrestricted as of the
                          petition date;

                   2. Whether grants made by the Debtor were to
                      organizations that provide services that are consistent
                      with the restricted purpose of the funds used to make
                      such grants, and the method by which the Debtor
                      monitors the use of the grants;

                   3. Any potential claims and causes of action of the Debtor,
                      including without limitation preferential and fraudulent
                      transfers, including to insiders, claims for breach of




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                        fiduciary duty and corporate waste, other claims against
                        insiders and claims relating to expense reimbursement;

                    4. All payments made to or amounts due to Brian
                       Mullaney (“Mr. Mullaney”) including expense
                       reimbursements from the Debtor to Mr. Mullaney; and

                    5. The Debtor’s corporate governance structures and
                       practices, including oversight of Mr. Mullaney by the
                       Debtor’s board of directors…

 Examiner Order at 2-3.

        5.      The Examiner Order provides that within ten days after his appointment, “the

 Examiner shall file with the Court a proposed work plan that shall include, but shall not be

 limited to, (a) an estimated budget of the costs and expenses related to the Examiner’s

 investigation, (b) a summary of the proposed steps the Examiner intends to take to complete

 his or her investigation, and (c) a proposed timeline for completion of the Report.” Id. at 5.

        6.      The Examiner Order further directs the Examiner to file a written report of his

 investigation (the “Report”) no later than 90 days from the date of the Examiner’s

 appointment, unless such time is extended by the Court. Id. at 3.

                        THE EXAMINER’S ACTIVITIES TO DATE

        7.      Following his appointment, the Examiner along with his proposed counsel

 initiated a review of the pleadings in the case and the decision of the arbitrator in the dispute

 between the Debtor and Help Me See, Inc. (“HMS”, and together with the Debtor and the

 U.S. Trustee, the “Parties”).

        8.      The Examiner and his proposed counsel have held separate in-person meetings

 with counsel for the Debtor and HMS in order to become familiar with the facts and

 circumstances leading up to the filing of the Chapter 11 case and the proceedings to date. The

 meetings also helped the Examiner and his proposed counsel ascertain the preliminary views



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 of each of the Debtor and HMS concerning the potential legal and factual issues to be

 addressed by the investigation and gain an initial understanding of the materials and resources

 available to the Examiner.

        9.      The Examiner also had telephone discussions with representatives of the U. S.

 Trustee and the New York State Attorney General (“NYAG”) to begin a dialogue and

 facilitate open lines of communication throughout the examination.

        10.     The Examiner has also solicited proposals from accounting firms with relevant

 forensic and not-for-profit experience to be retained as financial advisor(s).           He has

 interviewed members of several such firms. As of the date of this filing, the Examiner has not

 yet decided which accounting firm or firms to retain. The Examiner expects to make the

 decision concerning retention of financial advisor(s) and file retention applications for

 professionals as soon as practicable.

        11.     The Examiner will conduct a thorough and independent investigation, which

 will include witness interviews (or depositions) that he deems necessary and feasible along

 with a review of relevant documents and materials. The Examiner will assess the extent to

 which he will be able to utilize the extensive record developed in this case. In this regard, the

 Examiner has already asked counsel for the Debtor and HMS to provide access to documents,

 files and other information, all subject to the confidentiality provisions set forth in the

 Examiner Order. Counsel for the Debtor and HMS have both indicated their intention to

 cooperate fully with the Examiner. The Examiner believes that such cooperation will be

 necessary given the timing and expense constraints of this investigation.

        12.     Based on the stated commitments of cooperation from counsel for the Debtor

 and HMS, the Examiner does not immediately intend to seek formal discovery of either the




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 Debtor or HMS. However, the Examiner reserves all rights and power under law and the

 Examiner Order to compel production, take depositions, and conduct such other discovery as

 he may deem necessary or appropriate.

              THE EXAMINER’S PRELIMINARY PROPOSED WORK PLAN

        13.      The Examiner has developed this proposed work plan based upon the

 Examiner Order, his review of various pleadings regarding the subject matter of the

 investigation, various public and non-public documents provided by the Debtor and HMS

 regarding that subject matter, and his discussions with the Parties.

        14.      In order to provide structure to the investigation, the Examiner plans to divide

 his investigation into several principal categories: (i) the classification of donations to the

 Debtor as restricted or unrestricted; (ii) the use, tracking and accounting of Debtor’s restricted

 funds; (iii) the propriety of the Debtor’s expenditures of funds by or for the benefit of

 insiders; (iv) potential avoidance actions of the Debtor; (v) other potential causes of action of

 the Debtor, including breaches of fiduciary duty and waste of charitable assets; and (vi) the

 Debtor’s corporate governance structure and practices. These categories remain subject to

 change (within the bounds of the tasks set forth in the Examiner Order). Additionally, the

 Examiner may seek clarification from the Court on the scope of the investigation described in

 the Examiner Order.

              A. Information Gathering and Verification

        15.      The Examiner will need to ascertain the volume of documents that he will need

 to review in order to complete his investigation. Based on his preliminary discussions with

 the Parties, the Examiner estimates that the data will include thousands of pages of documents

 and emails (which may or may not be in searchable format). In particular, the Examiner

 intends to request that correspondence and emails be produced on an expedited basis because


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 he believes those materials will be especially critical to his analysis. The Debtor has agreed to

 “rolling” production to facilitate the Examiner’s compressed timetable.

           16.      At this time, the Examiner does not anticipate creating a document depository

 accessible by the Debtor and HMS given, among other things, the budget for this project and

 the confidentiality concerns expressed by the Parties.

           17.      The Examiner will aim to balance the breadth of the Examiner Order with the

 desire to limit the costs and timeframe of his investigation. With these considerations in

 mind, the Examiner may decide to limit his investigation with respect to certain issues,

 including, for example, by setting dollar thresholds for the review of certain transactions. The

 Examiner believes that imposing these limits may prove to be in the best interests of the

 estate.

                 B. Witness Interviews and Potential Depositions

           18.      At this juncture, the Examiner anticipates that he will conduct interviews with

 key staff of the Debtor, current and former board members of the Debtor, and current and

 former fundraising and accounting professionals who perform/have performed services for the

 Debtor, among others. The Examiner will generally seek to conduct voluntary interviews of

 these witnesses with respect to the issues subject to his investigation, but reserves the right to

 seek the necessary authority to issue subpoenas on an expedited basis or otherwise seek

 judicial intervention in those instances (if any) where witnesses decline to cooperate with the

 Examiner’s requests.

                 C. Maintaining Open Lines of Communication

           19.      During the course of his investigation, the Examiner will continue to maintain

 open lines of communication with the Debtor, HMS, the U.S. Trustee and the NYAG.




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         20.      The Examiner, through counsel, will provide such periodic status and progress

 reports as the Court may direct.

               D. Monitoring of Bankruptcy Case

         21.      The Examiner’s proposed counsel will continue to monitor and review

 pertinent filings with the Bankruptcy Court regarding or involving any issues related to the

 investigation.

               E. Retention of Professionals

         22.      In accordance with the provisions of the Examiner Order, the Examiner has

 determined that it is necessary and appropriate to employ and retain, subject to approval of

 this Court, certain professionals in order to discharge fully his duties.

         23.      The Examiner will move for authorization to retain Loeb & Loeb LLP as

 counsel. * In addition, the Examiner has determined that he cannot adequately conduct the

 investigation without advice from independent financial advisor(s). As noted above, the

 Examiner has interviewed a number of well-qualified candidates, but has not yet decided

 which specific firm or firms to retain. The Examiner will, after consultation with the U.S.

 Trustee, move for authorization to retain independent financial advisor(s) as promptly as

 possible. The Examiner reserves the right to seek retention of additional professionals as he

 deems necessary.

               F. Preparation of Examiner’s Report; Budget and Timing

         24.      At this juncture, the Examiner believes that the 90-day timeframe provided in

 the Examiner Order for the submission of his Report is ambitious given the expansive scope

 of the Examiner Order, the number of issues to be analyzed, and the volume of documents to


 *
 The Examiner is a partner of Loeb & Loeb LLP, and believes that retaining his firm as counsel is cost-effective
 and will expedite completion of his investigation.



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 be reviewed.    Thus, while the Examiner recognizes the importance of completing his

 investigation as soon as possible, and intends to do everything reasonably possible to ensure

 completion within the 90-day period, he reserves the right to seek an extension from the

 Court.

          25.   It is also exceedingly difficult at this time to estimate what this investigation

 will cost. Based upon the information currently available to the Examiner, the Examiner

 estimates that the investigation and the preparation of the Report will cost approximately

 $300,000-$600,000 in fees and reimbursable expenses. Once the Examiner becomes more

 familiar with the case, certain factors, such as the volume of documents to be reviewed and

 the number of potential claims and causes of action to be investigated, may necessitate a

 larger budget. Nonetheless, the Examiner will at all times discharge his responsibilities in a

 cost-efficient manner and endeavor to contain costs where possible.



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                                 RESERVATION OF RIGHTS

        26.    The Examiner’s work plan is based upon currently available information and

 presumes the full and complete cooperation of the Debtor and HMS, as well as other parties in

 interest, in accordance with the Examiner Order.      Additional time is necessary for the

 Examiner to assemble, review and analyze pertinent documents and related information. As

 the process unfolds, the Examiner may need to amend this work plan. The Examiner reserves

 his right to modify this work plan accordingly and will promptly notify the Court if

 modifications are necessary.


 Dated: May 22, 2017
        New York, New York




                                             Respectfully submitted,

                                             Jason R. Lilien, Examiner by

                                             LOEB & LOEB LLP

                                             By: /s/ William M. Hawkins
                                                Walter H. Curchack
                                                William M. Hawkins
                                                Bethany D. Simmons
                                             345 Park Avenue
                                             New York, NY 10154
                                             Telephone: (212) 407-4000
                                             Facsimile: (212) 407-4990
                                             Email: whawkins@loeb.com

                                             Proposed Counsel to Jason R. Lilien, the
                                             Examiner




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